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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



 UNITED STATES OF AMERICA


V*                                                    CASE NO. 3:08CR00440-001


RICHARD MOK LEE,
                               Defendant



                                             ORDER
(Adopting the Report and Recommendation of the United States Magistrate Judge)

       THIS MATTER is before the Court on a Report and Recommendation ("R&R"),

pursuant to 28 U.S.C. § 636(b)(l)(B) and (b)(3), filed by the Honorable M. Hannah Lauck,

United States Magistrate Judge ("Magistrate Judge"), on December 3, 2008. Having reviewed

the R&R in this case and there being no objections, this Court HEREBY ACCEPTS and

ADOPTS the R&R. In accordance with the R&R: the Court HEREBY ACCEPTS the

defendant's guilty plea made pursuant to Fed. R. Crim Pro. 11.

       The Clerk is directed to send a copy of this Order to all counsel of record.

       And it is so Ordered.




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                                     Henry E. Hudson
                                     United States District Judge

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Richmond, VA '
